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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

                                    DEFENDANTS’ STATUS REPORT

        In light of the upcoming Status Conference on August 2, 2021, we respectfully submit the

current draft of the repository instructions, which the Court has ordered the Government to

finalize by August 6, 2021. We have conferred with plaintiffs and understand that they will

respond separately with their responses to these draft instructions. While we have received

responses from plaintiffs regarding the instructions set forth below and are considering minor

modifications to the repository instructions as a result, this Status Report reflects the working

draft of the instructions that we have already shared with plaintiffs.

                                        DRAFT INSTRUCTIONS

   I.      Overview

           The following detailed instructions apply to importers submitting to the Repository
           their list(s) of entries the liquidation of which is to be suspended pursuant to the
           preliminary injunction order issued by the Court of International Trade (“CIT”) on
           July 6, 2021 in Master Case Number 21-00052-3JP (“Subject Entries”).

           Each importer will provide CBP with its list(s) of Subject Entries on the third
           Monday of every month. Importers are responsible for ensuring that all entries
           submitted through the repository are subject to this court order. Importers must
           submit their list(s) of entries via both (1) the Automated Commercial Environment
           (ACE) Document Imaging System (DIS) AND (2) email to the appropriate Center of
           Excellence and Expertise’s (Center’s) CIT mailbox.
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        Note: Importers should ensure that all Subject Entries that are scheduled to be
        liquidated within two months of the date of the establishment of the Repository are
        submitted to the Repository within the first thirty days of its establishment.


II.     Transmission Requirements

        a. Required Transmission #1 – Submission to DIS
           Note: This transmission must be made a minimum of 30 days in advance of the
           scheduled liquidation date for Subject Entries.

           Importers have two options for submitting the 301 repository Excel workbooks
           via DIS: (1) via XML - electronically through secure web services, file transfer
           protocol, or messaging queue, or (2) via email to docs@cbp.dhs.gov. For general
           guidance on how to use DIS, importers should review the ACE DIS
           Implementation Guide.

                i. DIS Option 1: XML – Importers submit 301 repository spreadsheets via
                   DIS through secure web services, file transfer protocol, or messaging
                   queue. When using XML, importers will use the unique DIS Document
                   Label Code, “301_Litigation_Spreadsheet” to identify the 301-repository
                   spreadsheet. If using the DIS XML option, importers must also submit a
                   separate email to the appropriate Center’s CIT mailbox (see email
                   instructions in section 1.b below).

               ii. DIS Option 2: Email – Importers submit 301 repository spreadsheets via
                   DIS email to docs@cbp.dhs.gov. Importers do not need ACE access to
                   submit via DIS email. When using DIS email, importers will use the
                   unique DIS DocCode “CBP160” to identify the 301-repository
                   spreadsheet. Importers submitting via DIS email will carbon copy (CC)
                   the appropriate Center’s CIT mailbox (see email instructions in section 1.b
                   below).
                   Note: The following formatting instructions for the DIS Email option
                   must be all uppercase and followed exactly. The sender must keep the
                   confirmation email for verification. If no confirmation email is received
                   within the hour, please resubmit.
                      • The subject line of the email must read precisely as follows:
                           “CAT=CIT; CIT_BATCH_NBR=21-00052-001; ACTION=ADD”
                              • CAT must always equal CIT for the Court of International
                                  Trade 301 litigation category.




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                          •   CIT_BATCH_NBR must reflect the master court number
                              (21-00052 and the batch number as identified by the
                              importer on a cumulative basis, beginning with 001, 002
                              etc.).
                          •   The body of the email must include the text below.
                              Note: Underlined text represents examples; the precise text
                              is to be filled in by the importer and should not be
                              underlined when transmitting the message. Italicized text
                              represents instructions and should not be included in the
                              transmission.

                     START_DATA
              AGENCY_CD=CBP
              TRANSMITTER_FILER_CD=123
                     Conditional (Required for Filers with valid filer codes)
              TRANSMITTER_NAME=Smith Brokerage Firm
                            Mandatory (Name of company)
              CENTER_TEAM=AAA
                     Conditional (Required when responding to Centers)
                     Enter Entry Summary Control Team Number
              Importer of Record (IOR)_NBR=54-123456789
                     Required
              POC_INFO=John Smith, 202-123-4567
                     Required (Name and Phone Number)
              COMMENT=NBR 20-00177. Entries scheduled to be liquidated in thirty
                     days. Please prioritize.
                     Required (Enter importer-specific case number.)
                     Further comments may also be included.
              RETURN_EMAIL_ADDRESS=JOHN.SMITH@YAHOO.COM
                     Conditional (Enter if different than sender’s email address)
              END_DATA

   b. Required Transmission #2 – Email to appropriate Center’s CIT mailbox
Note: This transmission must be made a minimum of 30 days in advance of the scheduled
       liquidation date for Subject Entries.

Importers transmitting data via DIS Option 1: XML, must send a separate email to the
       appropriate Center’s CIT mailbox with an attached Excel workbook containing
       one or more spreadsheets of Subject Entries (see spreadsheet requirements below).
       Importers transmitting data via DIS Option 2: Email, must CC the appropriate
       Center’s CIT mailbox when submitting the email to DIS.

Center CIT mailboxes are as follows:




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               CEE-CIT-Agriculture@cbp.dhs.gov
               CEE-CIT-Apparel@cbp.dhs.gov
               CEE-CIT-Automotive@cbp.dhs.gov
               CEE-CIT-Basemetals@cbp.dhs.gov
               CEE-CIT-Consumer@cbp.dhs.gov
               CEE-CIT-Electronics@cbp.dhs.gov
               CEE-CIT-Industrialmaterials@cbp.dhs.gov
               CEE-CIT-Machinery@cbp.dhs.gov
               CEE-CIT-Petroleum@cbp.dhs.gov
               CEE-CIT-Pharmaceuticals@cbp.dhs.gov
               CEE-CIT-SanJuan@cbp.dhs.gov
III.      Spreadsheet Requirements

       Both required transmissions, (1) DIS and (2) email to the Center’s CIT mailbox, must
       include an attached Excel workbook containing one or more spreadsheets with the
       following information for covered entries.
           c. Each Excel workbook must be limited to entries for one importer number with
              applicable suffixes, if relevant, e.g., 12-345678900, 12-3456789TX.
           d. Each spreadsheet within the Excel workbook is limited to no more than 5,000
              rows. However, multiple worksheets for the same importer can be included in a
              single Excel workbook. If sent by email, the file size is limited to 10MB.
           e. The file name for the 301 repository Excel workbook will be comprised of the
              following information including dash, underscores and no additional spaces:
              “CBP160-301_litigation_54-123456789_Batch_001.xlsx”.
                   i. CBP160-301_litigaton_: These characters will remain constant for all 301
                      repository spreadsheet file names from all importers.
                  ii. 54-123456789: The IOR number is importer specific and should be
                      limited to one IOR number in the file name.
                 iii. Batch_001: This batch number is sequential by importer on a cumulative
                      basis, beginning with 001.
           f. The required data elements are provided in the attached Excel spreadsheet
              template and detailed below:
                   i. Column A: Importer Number
                          • Enter the IOR number including appropriate dash (-) in either XX-
                              XXXXXXXXX, XXXXXX-XXXXX or XXX-XX-XXXX format.
                              IOR numbers should include suffixes, if relevant.
                  ii. Column B: Importer Specific Court Number (not the master court number)
                          • Enter the court number including the appropriate dash (-) in XX-
                              XXXXX format.
                 iii. Column C: Litigation Filing Date




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                        •  Enter the date on which the importer filed its summons in the CIT
                           in MM/DD/YYYY format.
              iv.    Column D: Center ID Name
                        • Enter the Center name or, if applicable, San Juan, Puerto Rico.
               v.    Column E: Control Team Number
                        • Enter the entry summary control team number.
              vi.    Column F: Entry Summary Number
                        • Enter the relevant 11-digit entry summary number without dashes.
              vii.   Column G: Entry Date
                        • Enter the date in MM/DD/YYYY format.


IV.     Bulletin Verification

        After submission of 301 repository Excel workbooks, importers should review the
        electronic Official Notice of Extension, Suspension and Liquidation bulletin to
        confirm that liquidation of Subject Entries covered by such submission has been
        suspended. If a Subject Entry submitted through the repository is not suspended after
        more than 30 days have passed since the submission, or is inadvertently liquidated,
        the importer should contact the appropriate Center or Port.


V.      Points of Contact

        Please contact traderemedy@cbp.dhs.gov for any questions regarding the repository
        submission process. For questions concerning liquidation of entries, please contact
        the applicable Center CIT mailbox as noted in Section 1b above.




                                               Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Acting Assistant Attorney General

                                               /s/ Jeanne E. Davidson
                                               JEANNE E. DAVIDSON
                                               Director

                                               /s/ L. Misha Preheim
                                               L. MISHA PREHEIM
                                               Assistant Director




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July 30, 2021                             Attorneys for Defendants




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